Case 2:10-cv-02734-CCC-MF Document 1114 Filed 01/08/21

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January 8, 2021

VIA ECF

Hon. Claire C. Cecchi

United States District Court

District of New Jersey

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Re: In re Biogen 7755 Patent Litigation, C.A. No. 10-2734 (CCCVME)

Dear Judge Cecchi:

I write on behalf of Defendant Bayer HealthCare Pharmaceuticals Inc. (“Bayer”)
regarding the above-captioned matter. As the Court will recail, Biogen MA Inc.’s case involving
Bayer and Novartis Pharmaceuticals Corp. (“Novartis”) was severed from its case against
Defendants EMD Serono, Inc. and Pfizer Inc. (collectively, “the Serone defendants”) but
remains pending under the same case number. ECF No. 743.

Because the sole patent claim asserted against Bayer (claim | of U.S. Patent No.
7,588,755) is invalid under the Federal Circuit’s decision in the Serono defendants’ case, Biogen
MA Inc. v. EMD Serono, Inc., 976 F.3d 1326, 1335, 1337 (Fed. Cir, 2020), Bayer is entitled to
final judgment. In view of the Serono defendants’ letter request for entry of judgment in its case,
ECF Nos. 1110, 1111, Bayer writes to advise the Court that Bayer intends to file a motion for
judgment on or before January 15, 2021. Bayer understands that Novartis intends to join in this

motion.

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We thank the Court for its consideration and assistance in this matter.

Respectfully submitted,
GREENBAUM, ROWE, SMITH & DAVIS LLP
/s/ C. Brian Kornbrek
C. BRIAN KORNBREK

CBK/mep
cc! Counsel of Record via ECF and emai!

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